               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA

Scott E. Dimmick and                :
Jodie C. Dimmick,                   :
                                    :
                        Plaintiffs, :
                                    :
      vs.                           :         No. 3:21-cv-00459-FDW-DCK
                                    :
Partners Insurance Agency, Inc.,    :
Emerson L. Dimmick, and             :
Karen A. Dimmick,                   :
                                    :
                        Defendants. :


  Reply of Plaintiffs Scott E. Dimmick and Jodie C. Dimmick to New Matter
                         and Answer to Counterclaims

      Plaintiffs/Counterclaim Defendants Scott E. Dimmick and Jodie C.

Dimmick (collectively “Plaintiffs”) by undersigned counsel file this reply to new

matter and answer to counterclaims as follows,

                              SECOND DEFENSE
                             MOTION TO DISMISS 1

      Plaintiffs oppose the motion to dismiss as Plaintiffs’ complaint properly

states claims.

                               THIRD DEFENSE
                            AFFIRMATIVE DEFENSE

      Plaintiffs deny that they have unclean hands.


      1
          Defendants’ pleading does not appear to contain a “first” defense.


     Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 1 of 10
                             FOURTH DEFENSE
                           AFFIRMATIVE DEFENSE

      Denied. Plaintiffs have properly stated a claim for unjust enrichment in the

alternative.

                              FIFTH DEFENSE
                           AFFIRMATIVE DEFENSE

      Denied. Plaintiffs reiterate that Individual Defendants have interfered with

contractual relations as stated in the amended complaint.

                              SIXTH DEFENSE
                           AFFIRMATIVE DEFENSE

      Denied. Plaintiffs deny the defense of excuse of performance by material

breach. To the contrary, Plaintiffs did not materially breach their contractual

obligations.

                             SEVENTH DEFENSE
                           AFFIRMATIVE DEFENSE

      Denied. Defendants have breached their contractual and other legal

obligations as stated in the amended complaint.

                             EIGHTH DEFENSE
                           AFFIRMATIVE DEFENSE

      Denied. Defendants are not entitled to any offset.




     Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 2 of 10
                               NINTH DEFENSE
                            AFFIRMATIVE DEFENSE

      No response required. This is a statement of defendants’ intention to raise

defenses in the future that are not presently identified.

                               TENTH DEFENSE
                            AFFIRMATIVE DEFENSE

      Denied. Defendants are not entitled to judgment on the pleadings.

      ANSWER TO COUNTERCLAIMS OF DEFENDANT EMERSON
         DIMMICK AGAINST PLAINTIFF SCOTT DIMMICK

      1.     No response required. Plaintiffs incorporate by reference the

allegations of their amended complaint and reply to affirmative defenses.

      2.     Admitted.

      3.     Admitted.

      4.     Denied as stated. The parties agreed that all home equity funds or

other funds contributed by Scott or Emerson and utilized to purchase the original

book of business would be reimbursed as a priority payment. Scott did not make

demand as alleged.

      5.     Denied as stated. The debt owed to Scott for use of home equity was

reimbursed first, but this was because Emerson could not secure his own funding

to purchase the business.

      6.     Denied as stated. Scott never desired nor demanded a Porsche.

Emerson negotiated the purchase of a Porsche for use for SIS business, suggesting


     Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 3 of 10
that the car be kept in Scott’s garage. Emerson, however, was free to use the

vehicle whenever he would choose, especially when visiting Pennsylvania to meet

Patty Elgin. Emerson would also on occasion take the Porsche to North Carolina

for his use. The Porsche was for business use, and all expenses were paid from

SIS revenue.

      7.       Denied as stated. SIS did not purchase a Porsche for Scott. SIS, as

directed by Emerson, decided to purchase the Porsche as a company vehicle.

Later, the Porsche was transferred to Scott as part of an agreement between

Emerson and Scott.

      8.       Denied as stated. Scott never proposed purchasing a luxury vehicle

for Emerson.

      9.       Denied as stated. The agreement was for SIS profits to be used to pay

debt and expenses and then to be split 50-50. Emerson and Scott had equal use of

the company vehicle, and profits were to be split 50-50.

      10.      Denied as stated. Emerson and Scott shared equally in any profits and

had equal use of the Porsche. Scott agreed to payment of debt, expenses and

splitting of profits 50-50. No demands were made of Emerson, and Emerson was

always able to use the Porsche purchased by the business.

      11.      Denied as stated. As agreed by Scott and Emerson, Scott and Jodie

Dimmick provided home equity funds on two occasions to purchase two books of



    Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 4 of 10
business for SIS. Jodie, as agreed, handled bookkeeping for SIS. Emerson on

numerous occasions stated that he was glad to have Scott as a business partner, as

Scott did not need to take money out of the business to survive.

      12.    Denied as stated. Despite Jodie Dimmick’s work, after expenses,

profits were distributed 50-50 as agreed upon by the parties.

      13.    Denied as stated. In 2016 Emerson demanded to be compensated for

running the day-to-day business of SIS, in derogation of the original agreement.

Scott agreed to a separate payment of $200,000 for two years ($400,000 total) to

Emerson for personal services, after which remaining profit was again to be split

50-50 between the parties.

      14.    Denied. There was no separate agreement. In fact, it was the

opposite, as there was no deviation from the 50-50 except for the $400,000 Scott

agreed as payment to Emerson for his services.

      15.    It is admitted that $200,000 was paid each of two years, but that was

the extent to which Scott had agreed such compensation would be paid outside the

parties’ 50-50 profit sharing agreement. There was no separate compensation

agreement apart from this extraordinary payment.

      16.    Denied as stated with respect to any suggestion that there was a

separate compensation agreement other than the one-time provision for payment of

$400,000 to Emerson for two years of service as stated herein.



    Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 5 of 10
      17.    Denied as stated. The parties’ agreement as to the splitting of profits

50-50 with only a $400,000 deviation of payment of funds to Emerson was the

parties’ agreement. There was no separate compensation agreement beyond the

extraordinary allowance of the $400,000 in payments.

      18.    Defendants are not entitled to payment as sellers under the agreement

of sale. It was the understanding and agreement of the parties at all times for full

payment to be made to Plaintiffs, and the course of payments actually made for

over a year to Scott and Jodie demonstrates this reality.

      19.    Denied as a characterization of a writing which speaks for itself. As

stated in the amended complaint, Plaintiffs are owed $510,000 and the balance of

payments due on Scott’s life insurance policy in addition to other relief.

                        COUNTERCLAIM COUNT ONE
                          BREACH OF CONTRACT
                          (Compensation Agreement)

      20.    Plaintiffs reallege their averments in the amended complaint and in

the present pleading.

      21.    Denied as stated. The only agreement between the parties for separate

compensation was for the $400,000 paid to Emerson based upon a deviation from

the 50-50 profit-sharing agreement expressly agreed to by Scott to compensate

Emerson at the rate of $200,000 for two years.




     Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 6 of 10
      22.    It is admitted only that Emerson was paid $200,000 for each of the

two years that Scott had agreed to. Any other implication of this paragraph that

Emerson is entitled to additional payments in derogation of the parties’ profit-

sharing agreement is denied.

      23.    It is denied that Scott has failed to fulfill any contractual obligation to

Emerson or other defendants, including what Emerson incorrectly characterizes as

a “Compensation Agreement.” The actual terms of Scott’s agreement for

extraordinary payment of a total of $400,000 to Emerson for services separate from

the 50-50 profit-sharing agreement are stated herein.

      24.    It is denied that Scott has failed to fulfill any contractual obligation to

Emerson or other defendants, including what Emerson is incorrectly characterizing

as a “Compensation Agreement.” The actual terms of Scott’s agreement for

extraordinary payment of a total of $400,000 to Emerson for services separate from

the brothers’ 50-50 profit-sharing agreement are stated herein.

      25.    Denied. There was no agreement for payment of an additional

$300,000, and it is denied that Scott has materially breached any contractual

obligation to Emerson.

      26.    Denied. There was no agreement for payment of an additional

$300,000, and it is denied that Scott has materially breached any contractual

obligation to Emerson.



    Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 7 of 10
      27.    Denied. There was no agreement for payment of an additional

$400,000, and it is denied that Scott has materially breached any contractual

obligation to Emerson. (It is also noted that this claimed sum due in paragraph 27

differs from the $300,000 asserted in paragraph 25.)

                        COUNTERCLAIM COUNT TWO
                          BREACH OF CONTRACT
                             (Profit Agreement)

      28.    Plaintiffs reallege their averments in the amended complaint and in

the present pleading.

      29.    It is admitted that there was a contractual agreement between the

parties. It is denied that Scott has breached any agreement of the parties. By way

of further answer, Scott incorporates by reference all allegations stated in the

amended complaint asserting that Emerson and/or other defendants have violated

their contractual agreements in favor of Plaintiffs.

      30.    It is admitted that there was a contractual agreement between the

parties. It is denied that Scott has breached any agreement of the parties. By way

of further answer, Scott incorporates by reference all allegations stated in the

amended complaint asserting that Emerson and/or other defendants have violated

their contractual agreements in favor of Plaintiffs.

      31.    It is denied that Scott has breached any agreement of the parties.

      32.    It is denied that Scott has breached any agreement of the parties.



     Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 8 of 10
       33.    It is denied that Scott has breached any agreement of the parties,

specifically as to improper retention of any profits to which Emerson makes claim,

repayment of capital contributions, or transfer of the Porsche, which was a part of

separate dealings between Scott and Emerson not in derogation of the terms of

their 50-50 profit-sharing agreement.

       34.    Denied as stated. This allegation is in the nature of an affirmative

defense which is denied. It is further denied that Scott has breached any agreement

of the parties.

       35.    It is denied that Scott has breached any agreement of the parties, and it

is denied that Emerson is entitled to any damages.

                        FIRST AFFIRMATIVE DEFENSE

       Plaintiffs raise the affirmative defense of the statute of limitations as to all

counterclaims.

                      SECOND AFFIRMATIVE DEFENSE

       Plaintiffs raise the defense of the parole evidence rule.




     Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 9 of 10
       WHEREFORE, Plaintiffs pray the Court to enter judgment in their favor on

their principal claims and against any and all defendants on the asserted

counterclaims.

       Respectfully submitted,               Respectfully submitted,

       STAM LAW FIRM                         METTE, EVANS & WOODSIDE

By:    /s/ R. Daniel Gibson            By:   /s/ Aaron D. Martin
       R. Daniel Gibson                      Aaron D. Martin
       N.C. State Bar No. 49222              PA Atty. I.D. No. 76441
       510 W. Williams Street                3401 North Front Street
       Apex, NC 27502                        Harrisburg, PA 17110
       (919) 362-8873 (phone)                (717) 232-5000 (phone)
       (919) 387-7329 (fax)                  (717) 236-1816 (fax)
       dan@stamlawfirm.com                   admartin@mette.com

       Attorneys for Plaintiffs              Attorneys for Plaintiffs
                                             Pro Hac Vice

Date: December 21, 2022.




      Case 3:21-cv-00459-FDW-DCK Document 49 Filed 12/21/22 Page 10 of 10
